Filed 8/23/24 P. v. Mount CA3
                                           NOT TO BE PUBLISHED
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.




                IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                                      THIRD APPELLATE DISTRICT
                                                        (Shasta)
                                                            ----




    THE PEOPLE,                                                                                C099429

                    Plaintiff and Respondent,                                    (Super. Ct. Nos. 22CS0713 &amp;
                                                                                           23F4748)
           v.

    GEORGE KENNETH MOUNT,

                    Defendant and Appellant.




         Defendant George Kenneth Mount pled guilty to one count of general burglary
and the trial court sentenced him to four years in prison. The trial court also issued a
criminal protective order on behalf of one of the victims, R.R.,1 and an additional person,
A.R., pursuant to Penal Code2 section 136.2, subdivision (i). On appeal, defendant


1      To protect their privacy, we refer to the victims and witnesses by their initials.
(Cal. Rules of Court, rule 8.90(a)(1), (b)(10), (11).)
2        Undesignated statutory references are to the Penal Code.

                                                             1
argues the criminal protective order was unauthorized and should be stricken. The
People agree issuance of the criminal protective order was unauthorized but contend we
should remand the matter for the trial court to determine whether to issue a nonstatutory
protective order. We will strike the criminal protective order and otherwise affirm the
judgment.
                                       BACKGROUND3
       Early one morning, defendant and his accomplice broke into H.G.’s barn and
loaded a motorcycle and a quad runner onto a trailer and other items into the bed of his
truck. H.G. and R.R. saw defendant drive away with their belongings. Defendant pled
no contest to general burglary (§ 459) and agreed to a maximum term of six years in
prison. Defendant admitted he was on postrelease community supervision in Shasta
County Superior Court case No. 22CS-00713 when he committed the burglary and had a
prior strike conviction (§ 1170.12).
       At sentencing, the People requested a criminal protective order. The prosecutor
said the victims provided “some information I didn’t know, that [defendant] had moved
to, they had been doing some work for their company, (inaudible) the individual that was
knowledgeable to them as victims and they are concerned, they would be asking for a no
contact order from him. I don’t have a [criminal protective order] to fill out. But, as to
that, they indicated they gave their statement to Probation.”
       The probation department summarized its conversation with R.R. in a
memorandum to the trial court. R.R. and H.G. lived at the residence that defendant
burglarized. R.R. did not know if defendant and his accomplice were armed, so she was
afraid for her life when she saw them breaking into the barn. After the burglary, she was
scared defendant would retaliate; she felt uneasy in her home. When a neighbor told R.R.



3      We take portions of the factual background from the probation report’s summary
of the Shasta County Sheriff’s report. The sheriff’s report is the factual basis of the plea.

                                              2
she saw defendant’s truck at R.R.’s home multiple times, R.R. realized that several other
items were missing. This led R.R. to believe that defendant stole these other items on a
prior occasion. She also discovered that defendant worked for the same water company
that serviced her property, though she did not know if he came to the property during that
employment.
       In response to the People’s request, the trial court asked for the paperwork for the
criminal protective order. The People agreed to have it prepared the next day, so the
court continued the issue of the criminal protective order until the next day and proceeded
to sentencing. The trial court sentenced defendant to the midterm of two years in prison,
doubled to four years for the prior strike.
       The next day, the People presented a completed Judicial Council form No. CR-161
to the trial court for review. On the form, the People checked the box seeking a
protective order under section 136.2, subdivision (i). The People did not make any
argument or produce any evidence and the trial court announced, “At the request of the
People, because it wasn’t prepared yesterday at sentencing, there is a criminal protective
order, which we discussed. The Court has executed that.” The criminal protective order
required that defendant not contact R.R. and stay away from her home for 10 years. It
also included an additional protected person named A.R. but did not identify A.R.’s
relationship to R.R.
                                       DISCUSSION
                                              I
       On appeal, defendant contends the criminal protective order must be stricken as an
unauthorized sentence because burglary is not one of the enumerated offenses in section
136.2, subdivision (i). The People concede the criminal protective order was not
authorized under section 136.2, subdivision (i). However, the People argue the matter
should be remanded so the trial court can consider using its inherent authority to issue a
nonstatutory protective order.

                                              3
A. Legal Background
       “Section 136.2 permits the trial court in a criminal case to protect a witness or a
victim by issuing a protective order.” (People v. Ponce (2009) 173 Cal.App.4th 378, 382,
fn. omitted (Ponce).) The duration of the protective order issued under section 136.2
may not extend beyond the trial court’s jurisdiction over the criminal case, unless they
are issued pursuant to section 136.2, subdivision (i)(1). (Ponce, supra, at pp. 382-383.)
Under section 136.2, subdivision (i)(1), when a criminal defendant is convicted of an
enumerated crime, including domestic violence, human trafficking, or a crime that
requires registration as a sex offender, “the court, at the time of sentencing, shall consider
issuing an order restraining the defendant from any contact with the victim of the crime.
The order may be valid for up to 10 years, as determined by the court.”
B. Analysis
       As an initial matter, we accept the People’s concession that the trial court was not
authorized to grant the criminal protective order under section 136.2, subdivision (i). The
trial court issued the criminal protective order under section 136.2, subdivision (i), but
defendant’s conviction for general burglary is not one of the enumerated offenses to
which that section applies. Therefore, the criminal protective order was unauthorized.
(Ponce, supra, 173 Cal.App.4th at pp. 381-383.)
       Despite their agreement on the error, the parties disagree on the remedy.
Defendant argues the criminal protective order should be stricken on appeal. The People
contend this court should remand the matter for the trial court to consider using its
inherent authority to issue a nonstatutory protective order.
       In Ponce, the appellate court considered whether a trial court was permitted to
exercise its inherent authority to grant a nonstatutory protective order and explained that
“Where the Legislature authorizes a specific variety of available procedures, the courts
should use them and should normally refrain from exercising their inherent powers to
invent alternatives.” (Ponce, supra, 173 Cal.App.4th at p. 384.) “Moreover, even where

                                              4
a court has inherent authority over an area where the Legislature has not acted, this does
not authorize its issuing orders against defendants by fiat or without any valid showing to
justify the need for the order.” (Ibid.) Rather, a trial court should issue a protective order
under its inherent power only in rare and compelling circumstances. (Id. at p. 385.) As
the party seeking the restraining order, the People bear the burden to “make an offer of
proof or argument justifying the need.” (People v. Robertson (2012) 208 Cal.App.4th
965, 996.)
       The People are correct that possible grounds for the trial court’s exercise of
inherent authority could include a defendant threatening a witness or trying to unlawfully
interfere with the criminal proceedings. (People v. Robertson, supra, 208 Cal.App.4th at
p. 996.) But nothing in the record indicates that defendant ever contacted R.R. or A.R.
before, during, or after the burglary. Although a neighbor saw defendant’s truck at
R.R.’s home before the burglary and defendant worked for the same water company that
serviced R.R.’s property, nothing indicates he was previously on R.R.’s property, had any
contact with R.R., or that R.R. was aware of defendant’s presence on these prior
occasions. And while R.R. was afraid defendant would retaliate, nothing in the record
indicates that defendant tried to threaten or intimidate her or A.R. Nothing in the record
indicates that defendant otherwise unlawfully interfered with the criminal proceedings
either. Further, the record makes no mention of A.R. and the People do not shed any
light on whether A.R. was another witness or victim either. Thus, nothing in the record
indicates any rare or compelling circumstances that could justify the trial court exercising
inherent authority.
       The People nevertheless argue that remand is appropriate because defendant did
not object to the criminal protective order in the trial court and the prosecution was not
given notice that more evidence was required to support the protective order. We
disagree.



                                              5
       Ponce, which was decided over 14 years before defendant’s sentencing hearing,
alerted the People of the need to make a showing to justify the need for a protective order
under the trial court’s inherent authority. (Ponce, supra, 173 Cal.App.4th at pp. 384-
385.) At the time the People requested the criminal protective order, they knew or should
have known that section 136.2, subdivision (i), could not authorize the protective order.
Yet the People did not argue for or offer any evidence that would warrant the trial court’s
exercise of inherent authority. Although the trial court gave the People an additional day
to prepare the paperwork, the People still elected to seek a criminal protective order
under section 136.2, subdivision (i) without producing any evidence in support of the
application. Even now, on appeal, the People do not point to any facts in the record that
would support issuing a nonstatutory protective order. Accordingly, we see no basis for a
remand to allow the People an opportunity to justify an order for which the record
discloses no legal or factual basis.
                                       DISPOSITION
       The criminal protective order is stricken. In all other respects, the judgment is
affirmed.

                                                      \s\                     ,
                                                 Krause, J.


We concur:


     \s\                     ,
Mauro, Acting P. J.


     \s\                     ,
Renner, J.




                                             6
